Case 2:04-cr-20283-.]PI\/| Document 18 Filed 07/27/05 Page 1 of 2 Page|D 46

IN THE UNITED sTATEs DIsTRICT coURT aero /Mr D.G-
FoR THE WESTERN DISTRICT oF TENNEssEE `, \5
WESTERN DIVIsIoN 05 JUL 27 Fll '

 

 

UNITED S'I`ATES OF AMERICA

 

 

v.
MARIO ALBERT BARAHONA 04cr20283-M1
ORDER ON ARRAIGNMENT
This cause came to be heard on g 7 gpo 5 the United States Attorney
for this district appeared on behalf of the vern nt, and the defendant appeared in person and with
counsel:

NAME w JMA-€.&M/ who is Retainedeppointed.
l -'r“"'

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

§ The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a State prisoner) (being a federal
prisoner) (being held _litil_cll__tbcmth to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
F<Q,¢w¢e £/. gyng
UNITED STATES MAGISTRATE ]UDGE

CHARGES - 21:846
CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE

Attorney assigned to Case: ]. Murphy

Age: %

This document entered on the docket Sheet in oonEiance v
with Flui@ E.= ami/or 32lb) FRCrP on _ 77 05 /F

     

UNITED sTATE DRISTIC COUR - WTERN D'S'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 18 in
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July 28, 2005 to the parties listed.

 

 

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369 N. Main

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Honorable J on McCalla
US DISTRICT COURT

